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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



VOTE FORWARD, et al.,

                      Plaintiffs,
                                                      Civil Case No. 1:20-cv-02405 (EGS)
           v.

LOUIS DEJOY, in his official capacity as
Postmaster General; and the UNITED
STATES POSTAL SERVICE,

                      Defendants.


                                    JOINT PROPOSED ORDER

       The parties are in agreement on the below proposed order except as to the one sentence in

brackets in paragraph 2(a), which Plaintiffs request and Defendants oppose:

       Upon consideration of Plaintiff’s Emergency Motion to Enforce and Monitor Compliance

with Preliminary Injunction and Request for Expedited Briefing and Hearing, the memoranda

and exhibits submitted in support thereof, and the opposition thereto, it is hereby ORDERED

that Plaintiff’s Motion is GRANTED.

       It is FURTHER ORDERED that:

       1. No later than 9:00 a.m. on October 28, 2020, Defendants shall issue a one-page notice

           to Area Vice Presidents, Managers of Operations Support, and any other United

           States Postal Service (USPS) personnel who were previously informed about the

           guidelines issued on July 14, 2020, by USPS Vice President of Logistics, Robert

           Cintron, regarding the use of late and extra trips:




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       a. “The guidelines issued on July 14, 2020, by USPS Vice President of

           Logistics, Robert Cintron, regarding the use of late and extra trips are

           rescinded;” and

       b. “USPS personnel are instructed to perform late and extra trips to the

           maximum extent necessary to increase on-time mail deliveries, particularly for

           Election Mail. To be clear, late and extra trips should be performed to the

           same or greater degree than they were performed prior to July 2020 when

           doing so would increase on-time mail deliveries. Any prior communication

           that is inconsistent with this instruction should be disregarded.”

2. No later than 9:00 a.m. on October 29, 2020, Defendants shall issue a one-page notice

   to, or deliver a Stand-Up Talk to, all USPS personnel who may have job

   responsibilities related in any way to late and extra trips, stating that:

       a. “Late and extra trips will be approved to the maximum extent necessary to

           increase on-time mail deliveries, particularly for Election Mail. Any prior

           communication that is inconsistent with this should be disregarded. [To be

           clear, late and extra trips will be approved to the same or greater degree than

           they were performed prior to July 2020 when doing so would increase on-time

           mail deliveries.]”

3. No later than 9:00 a.m. on October 29, 2020, Defendants shall distribute, in the same

   form and to the same individuals who were previously advised about the need to

   “ensure that completed ballots reach the appropriate election official by the state’s

   designated deadline,” a list of state-specific statutory ballot receipt deadlines, so that

   USPS managers and employees can implement the Election Mail guidance that




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         Defendants have recently issued. The parties shall confer and agree on the form and

         substance of the list.

      4. Beginning October 28, 2020 and until further order of the Court, Defendants shall file

         with the Court by 10:00 a.m. each day: (a) updated data on the number of extra and

         late trips performed the preceding day, at the Nation, Area, and District level,

         including any available data that is specific to Election Mail, to the maximum extent

         feasible; (b) updated data on the percentage of on-time deliveries at the Nation, Area,

         and District level, including any available data that is specific to Election Mail to the

         maximum extent feasible; and (c) any other reports generated after the date of this

         Order and produced to Congress, other courts, or other litigants.

SO ORDERED.

                                                    ________________________________
                                                    UNITED STATES DISTRICT JUDGE
Dated: __________________




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